     Case 2:11-bk-47218-VZ       Doc 206 Filed 03/20/18 Entered 03/20/18 14:39:06                    Desc
                                   Main Document    Page 1 of 2


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 2
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 6                                                                         Central District of California
                                                                           BY egarcia DEPUTY CLERK
     Attorney for Secured Creditor
 7   U.S. Bank Trust National Association, as Trustee
 8   of the Bungalow Series F Trust, its assignees                   CHANGES MADE BY COURT
     and/or successors
 9
10                             UNITED STATES BANKRUPTCY COURT
11              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
12
     In re:                                         )   Case No. 2:11-bk-47218-VZ
13                                                  )
     Maria Concepcion Sarimento,                    )   Chapter 11
14                                                  )
15                   Debtor.                        )
                                                    )   ORDER GRANTING MOTION TO
16                                                  )   REOPEN BANKRUPTCY CASE UP TO
                                                    )   JUNE 30, 2018 FOR LIMITED PURPOSE
17
                                                    )
18                                                  )   [LBR 5010-1, 9013-1(q)(11)]
                                                    )
19                                                  )   (In re: 5501 E. Village Dr., Commerce, CA
20                                                  )   90040)
                                                    )
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                                                1
                                                                                                   Order
                                                                              Case No. 2:11-bk-47218-VZ
     Case 2:11-bk-47218-VZ       Doc 206 Filed 03/20/18 Entered 03/20/18 14:39:06                   Desc
                                   Main Document    Page 2 of 2


 1          Upon consideration of U.S. Bank Trust National Association, as Trustee of the Bungalow
 2
     Series F Trust, its assignees and/or successors (“U.S. Bank”), Motion to Reopen Chapter 11
 3
     Bankruptcy Case of Maria Concepcion Sarmiento,
 4
 5          IT IS ORDERED that the Motion is GRANTED as follows:

 6          1) The bankruptcy case is reopened up to June 30, 2018; and
 7
            2) The purpose of reopening the case is limited to seeking relief regarding the order
 8
                approving stipulation (docket entry #43) that resolved adversary proceeding number
 9
10              2:15-ap-01262-VZ, to the extent such relief is necessary.

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26        Date: March 20, 2018

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                                                 2
                                                                                                   Order
                                                                              Case No. 2:11-bk-47218-VZ
